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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


NATURAL RESOURCES DEFENSE COUNCIL, INC.,
et al.,
                   Plaintiffs,
                                                                    18 Civ. 4596 (VEC)
            v.

U.S. DEPARTMENT OF THE INTERIOR, et al.,

                                Defendants.



NATIONAL AUDOBON SOCIETY, et al.,

                                Plaintiffs,                         18 Civ. 4601 (VEC)
                    v.

U.S. DEPARTMENT OF THE INTERIOR, et al.,

                                Defendants.



STATE OF NEW YORK, et al.,

                                Plaintiffs,
                    v.                                               18 Civ. 8084 (VEC)

U.S. DEPARTMENT OF THE INTERIOR, et al.,

                                Defendants.



                                       NOTICE OF APPEAL

        Notice is hereby given that the U.S. Department of the Interior, the U.S. Fish and Wildlife
Service, and Daniel H. Jorjani, in his official capacity as Solicitor of the Interior, defendants in the
above-named cases, hereby appeal to the United States Court of Appeals for the Second Circuit from
the final judgment entered in these actions on August 11, 2020.
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Dated:    New York, New York               Respectfully submitted,
          October 8, 2020
                                           AUDREY STRAUSS
                                           United States Attorney for the
                                           Southern District of New York
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